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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

ROBERT CARLSON, Personal Representative            )
of the Estate of Craig Carlson,                    )
                             Plaintiff,            )
                                                   )       No. 1:08-cv-991
-v-                                                )
                                                   )       Honorable Paul L. Maloney
SCOTT FEWINS and                                   )
GRAND TRAVERSE COUNTY,                             )
                    Defendants.                    )
                                                   )

                     ORDER DENYING MOTION TO FILE REPLY

         Defendants filed a motion to strike or otherwise limit the testimony of Plaintiff's

expert, Ernest Burwell.     After Plaintiff filed his response, Defendants filed a motion

requesting leave of the Court to file a reply. (ECF No. 381.)

         Defendants largely complain that the response does not address the arguments raised

in their motion. The Court has reviewed the proposed response. (ECF No. 381-1.)

         Defendants' motion for leave to file a reply (ECF No. 381) is DENIED. Without

limiting the reasons the motion might be granted, the proposed response does not identify

an error of law or seek to correct a clearly inaccurate statement of fact. Most parties would

like the last word on any matter. Here, Defendants' will have to rely on their initial brief.

         IT IS SO ORDERED.

Date: July 11, 2018                                         /s/ Paul L. Maloney
                                                           Paul L. Maloney
                                                           United States District Judge
